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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                     CHIEF MAGISTRATE JUDGE JOSEPH C. SPERO

                                    ZOOM CIVIL MINUTES



 Case No.: 18-cv-01586-JSC (JCS)
Case Name: In Re: Pacific Fertility Center Litigation

 Date: January 17, 2023                          Time: 5.5 Hours
 Deputy Clerk: Karen Hom                         Court Reporter: Not Reported

Attorney for Plaintiff: See Attached
Attorney for Defendant: See Attached


                                     ZOOM PROCEEDINGS

()     Zoom Settlement Conference

       ( ) Case Settled        ( ) Case Did Not Settle         ( ) Partial Settlement

(X)    Further Zoom Settlement Conference - Held

       ( ) Case Settled        ( ) Case Did Not Settle         ( ) Partial Settlement

( )    Zoom Scheduling Conference to set Settlement Conference

( )    Further Zoom Settlement Conference

( )    Discovery Conference – Lead Trial Counsel Meet and Confer

( )    Zoom Status Conference

( )    Other

Notes:
Parties to complete drafting. Parties to contact the court if there are any issues.
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                        3:18-cv-01586-JSC (JCS)
                 In re Pacific Fertility Center Litigation
        Attorney List for January 17, 2023 Settlement Conference

   Counsel on Behalf of Trial and
                                               Firm Name
        Federal Plaintiffs

   Dena Sharp                       Girard Sharp LLP

   Adam Polk                        Girard Sharp LLP

   Amy Zeman                        Gibbs Law Group LLP

   Geoffrey Munroe                  Gibbs Law Group LLP

                                    Peiffer Wolf Carr Kane Conway &
   Adam Wolf
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                                    Peiffer Wolf Carr Kane Conway &
   Joe Peiffer
                                    Wise, LLP

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   Tracey Cowan
                                    Wise, LLP

     Counsel on Behalf of State
                                               Firm Name
         Court Plaintiffs
                                    Walkup, Melodia Kelly +
   Doris Cheng
                                    Schoenberger
                                    Walkup, Melodia Kelly +
   Mike Kelly
                                    Schoenberger
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   Sarah R. London
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                                    Lieff Cabraser Heimann &
   Tiseme Zegeye
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   Anne Marie Murphy                Cotchett Pitre McCarthy LLP

    Counsel / Client on Behalf of
                                               Firm Name
        Defendant Chart

   Molly Lane                       Morgan, Lewis & Bockius LLP

   David Cox                        Morgan, Lewis & Bockius LLP
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   Austin Bersinger                 Barnes & Thornburg, LLP

   John Duffy                       Swanson Martin Bell LLP

   Herb Hotchkiss                   Chart Industries

   Laura Ashby                      Chart Industries

    Counsel / Client on Behalf of
    Insurer Starr Indemnity &                    Firm Name
              Liability

   Travis Wall                      Kennedys CMK LLP

   Gary Kull                        Kennedys CMK LLP

   Tara McCormack                   Kennedys CMK LLP

   Judy F. Marotti                  Starr Adjustment Services, Inc.

    Counsel / Client on Behalf of
                                             Insurer / Firm Name
    Other Insurers in the Tower

   Angel Muth                       The Hartford

   Terese Kerrigan                  Zurich

   AJ Patel                         Allianz

   Jennifer Elson                   AXA XL

                                    Great American, represented by
   Brad Harding
                                    Clyde & Co.

                                    Great American, represented by
   Sean Simpson
                                    Clyde & Co.

                                    Liberty Mutual, represented by
   Guy Gruppie
                                    Murchison & Cumming, LLP

                                    Liberty Mutual, represented by
   Georgiana Nikias
                                    Murchison & Cumming, LLP

   Caroline Speranza                Travelers
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   Tracey Seitz                Travelers
